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            15       WHATSAPP INC. and FACEBOOK, INC.

            16
                                                    UNITED STATES DISTRICT COURT
            17
                                                NORTHERN DISTRICT OF CALIFORNIA
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                     WHATSAPP INC., a Delaware corporation,          Case No. 4:19-cv-07123-JSC
            20       and FACEBOOK, INC., a Delaware
                     corporation,
            21                                                       NOTICE OF APPEARANCE OF ELIZABETH
                                                                     B. PRELOGAR AS COUNSEL FOR
            22                        Plaintiffs,                    PLAINTIFFS WHATSAPP INC. AND
                                                                     FACEBOOK, INC.
            23              v.

            24       NSO GROUP TECHNOLOGIES LIMITED
                     and Q CYBER TECHNOLOGIES LIMITED,
            25
                                      Defendants.
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  COOLEY LLP                                                                             NOTICE OF APPEARANCE OF
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                                                                1.                        ELIZABETH B. PRELOGAR
                                                                                       CASE NO. 4:19-CV-07123-JSC
                            Case 4:19-cv-07123-PJH Document 58 Filed 04/24/20 Page 2 of 2



              1      TO THE CLERK, ALL PARTIES, AND ALL COUNSEL OF RECORD:

              2                  Plaintiffs WhatsApp Inc. and Facebook, Inc. notify the Court and all parties that Elizabeth B.

              3      Prelogar of the law firm of Cooley LLP hereby appears as Plaintiffs’ counsel of record in this action.

              4      She is admitted to practice in California and before this Court. Her address, telephone, facsimile and

              5      email address are as follows:

              6                                 COOLEY LLP
                                                Elizabeth B. Prelogar
              7                                 1299 Pennsylvania Avenue, NW, Suite 700
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              8                                 Telephone:     (202) 842-7800
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              9                                 E-mail:        eprelogar@cooley.com
            10                   Please serve said counsel with all pleadings, notices and other filings in this action.
            11       Dated: April 24, 2020                               COOLEY LLP
            12
            13                                                           /s/ Elizabeth B. Prelogar
                                                                         Elizabeth B. Prelogar (262026)
            14
                                                                         Attorney for Plaintiffs
            15                                                           WHATSAPP INC. and FACEBOOK, INC.
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  COOLEY LLP                                                                                           NOTICE OF APPEARANCE OF
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                                                                           2.                           ELIZABETH B. PRELOGAR
                                                                                                     CASE NO. 4:19-CV-07123-JSC
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